                IN THE UNITED STATES DISTRICT COURT IN THE
             EASTERN DISTRICT OF VIRGINIA ALEXANDRIA DIVISION

LAMONTA GLADNEY,                    )
                                    )
      Plaintiff,                    )
v.                                  )
                                    )
TYLER RYAN TIMBERLAKE               )
                                    )                 Case No.: 1:21-cv-00287-AJT-JFA
and                                 )
                                    )
KYLE M. SCHAEFER,                   )
                                    )
      Defendants.                   )
___________________________________ )

          PLAINTIFF’S MOTION TO LIFT PARTIAL STAY OF DISCOVERY


       COMES NOW Plaintiff, Lamonta Gladney (“Gladney”), by counsel, and respectfully

submits his Motion to Lift the Partial Stay of Discovery imposed by this Court in its June 2,

2021, Order [Doc. No. 18] staying direct discovery against Defendant Tyler Ryan Timberlake

(“Timberlake”) based on Timberlake’s alleged Fifth Amendment concerns arising out of pending

misdemeanor charges against him that parallel this civil action and that are set for trial in Fairfax

Circuit Court over one year from now on September 19, 2022. That Order provides, in pertinent

part, that “upon substantial completion of all discovery authorized herein, the Court will

consider, upon application of the Plaintiff, whether Plaintiff may proceed to obtain further

discovery from Defendant Timberlake, including [Timberlake’s] deposition….” Plaintiff has

completed extensive and substantial discovery, obtaining the voluminous documentary and video

compilation of the extensive criminal investigation of the June 5, 2020, incident conducted by

the Fairfax County Police Department, and now seeks to lift the stay of direct discovery against

Timberlake for the reasons set forth herein.



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                              I.      SUMMARY OF ARGUMENT

       “When a district court exercises its discretion to stay a case pending the resolution of

related proceedings in another forum, the district court must limit properly the scope of the stay.

A stay must not be ‘immoderate.’" Trujillo v. Conover & Company Communications, Inc., 221

F. 3d 1262, 1264 (11th Cir. 2000), citing CTI-Container Leasing Corp. v. Uiterwyk Corp., 685

F.2d 1284, 1288 (11th Cir.1982). In considering whether a stay is "immoderate," the district

court should examine both the scope of the stay (including its potential duration) and the reasons

for the stay. Id. As the Supreme Court has explained, "[a] stay is immoderate and hence unlawful

unless so framed in its inception that its force will be spent within reasonable limits, so far at

least as they are susceptible of prevision and description." Landis v. North American Co., 299

U.S. 248, 57 S.Ct. 163, 167, 81 L.Ed. 153 (1936).

       If the stay ordered by this Court were to remain in effect until the conclusion of the trial

currently set for September 19, 2022, and the exhaustion of all appeals it would be immoderate

and, therefore, an abuse of discretion. If not lifted the scope of the stay ordered by this Court

would be, in effect, indefinite because the record indicates that the misdemeanor prosecution of

Defendant Timberlake has already been continued or delayed several times and is not

progressing quickly. Cf. American Manuf. Mut. Ins. Co. v. Edward D. Stone, Jr. & Assoc., 743

F.2d 1519, 1524 (11th Cir.1984) (finding stay of federal court proceedings pending conclusion of

state court proceedings indefinite where state proceedings had been pending for 18 months and

no trial date had been set in state court); CTI-Container, 685 F.2d at 1288 (vacating district court

stay where duration of stay could "safely be described as an indefinite period").

       Moreover, Timberlake’s invocation of his Fifth Amendment right against self-

incrimination is disingenuous because he has represented through his criminal defense attorney



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that he intends to assert as his principal defense to the misdemeanor charges his alleged “mistake

of fact” in believing that Plaintiff was a man named Anthony Ingram, who Timberlake claims to

have known had outstanding felony warrants. The only way Timberlake can assert this defense

in his criminal case is to testify about his alleged “mistake of fact,” thereby waiving his Fifth

Amendment privilege.

                              II.     FACTUAL BACKGROUND

       On June 5, 2020, Fairfax County paramedics were dispatched to the area of Fordson

Road in Fairfax, Virginia concerning a man asking for oxygen. Finding Plaintiff Lamonta

Gladney to be disoriented and nonresponsive, the paramedics requested police backup and

Fairfax County Police Officer Kyle Schaeffer responded. Officer Schaeffer did not know

Plaintiff Gladney but engaged peacefully with him for approximately five minutes, obtaining

from Gladney his first name “Lamonta.” Officer Schaeffer and paramedics at the scene calmly

sought to persuade Gladney to accompany the paramedics to the hospital, and came close to

doing so, but Plaintiff Gladney walked slowly away from the ambulance rather than get in.

Officer Schaeffer put out a call stating merely that he was engaged with a person walking in

circles and acting erratically. Officer Schaeffer did not indicate that he was in any danger, nor

did he request immediate backup. Fairfax County Police Officer Timberlake heard the call and

self-dispatched to the scene. Officer Timberlake did not seek direction from dispatch, nor did he

seek to contact the other officer on the scene. Timberlake parked his cruiser and immediately

pulled out his taser as he was walking toward Gladney, firing his taser into Gladney less than 10

seconds after exiting his cruiser. Officer Timberlake gave Gladney no opportunity to respond or

comply to any instruction before firing his taser into Gladney, causing Gladney to cry out in pain

and collapse on the asphalt. While on the asphalt Timberlake punched Gladney in the face with



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the butt of his taser and shocked him directly and repeatedly with the taser, causing serious

physical and emotional injury to Gladney. Officer Schaffer assisted Timberlake in restraining the

helpless Lamonta Gladney as Timberlake punched and tased him.

       At no time did Lamonta Gladney threaten anyone or make any aggressive gestures.

Officer Timberlake made absolutely no effort to consult with Officer Schaeffer or the

paramedics on the scene to assess the situation or ascertain Gladney’s identity prior to exiting his

cruiser and almost immediately tasing a person asking for help. In fact, when Officer Timberlake

fired his taser into Gladney, Gladney was turned away from Timberlake.

        On June 5, 2020, Fairfax Police Officer Kyle M. Schaefer, now a defendant in this case,

caused criminal charges to be brought against Lamonta Gladney for “knowingly attempting to

intimidate or impede by threats or by force a law-enforcement officer lawfully engaged in the

performance of his duties,” a Class 1 misdemeanor (Va. Code §18.2-460), and drunk in public, a

Class 4 misdemeanor. On June 11, 2020, Kyle Manikas, Deputy Commonwealth’s Attorney for

Fairfax County, filed the Commonwealth’s Motion to Dismiss both charges against Gladney,

asserting that “[t]he Commonwealth reviewed the body worn camara footage of the incident and

the evidence is insufficient to support either charge.” On June 12, 2020, the Fairfax

Commonwealth Attorney’s Office dismissed both charges.

       Since entry of this Court’s June 2, 2021, Order [Doc. No. 18] staying direct discovery

against Defendant Timberlake, Plaintiff Gladney has vigorously pursued discovery, propounding

Interrogatories, Requests for Production of Documents, and third-party subpoenas, to which

voluminous responses have been received. Plaintiff has scheduled two depositions to be taken on

August 26. 2021.

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        III.   PROCEDURAL HISTORY OF OFFICER TIMBERLAKE’S CRIMINAL
                                  PROSECUTION

    1.          On June 6, 2020, Timberlake was arrested and charged with three counts of

misdemeanor assault and battery (violation of Va. Code §18.2-57).

    2.          On June 9, 2020, the matters were continued in the Fairfax General District Court.

    3.          On July 13, 2020, the Commonwealth moved to nolle prosequi the charges

against Officer Timberlake. The good cause provided for the nolle prosequi was that the

Commonwealth did not want to expose witnesses to potential infection by the COVID-19 virus,

but the Commonwealth also represented that it wanted the case against Timberlake tried before a

jury.

    4.          Over the defense’s objection, the Honorable Susan J. Stoney granted the

Commonwealth’s motion.

    5.          On July 20, 2020, the Commonwealth direct indicted Officer Timberlake on 3

counts of assault and battery.

    6.          On July 23, 2020, a jury trial was set for January 11, 2021, in the Fairfax Circuit

Court.

    7.          Pursuant to Fairfax County Circuit Court COVID-19 restrictions implemented on

September 17, 2020, Timberlake’s criminal case was removed from the trial docket and set for

status on January 14, 2021.

    8.          The Fairfax Circuit Court subsequently removed the January 14, 2021, status

hearing from the docket and continued the matter to February 26, 2021, for a status hearing.

    9.          On February 26, 2021, the Fairfax Circuit Court ordered that Timberlake’s

criminal trial be set on September 19, 2022, a continuance of more than 18 months. Neither party

objected to that trial date, nor has the Court ordered that there shall be no further continuances.

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   10.         In his first Motion to Dismiss filed in the Fairfax Circuit Court Brandon R.

Shapiro, Esq., Timberlake’s criminal defense attorney, asserts that the individual Timberlake

believed he was tasing on June 4, 2020, a man named Anthony Ingram, had outstanding warrants

for his arrest. This argument is characterized by the Commonwealth as a “mistake of fact”

defense. See Exhibit “A,” Commonwealth’s Response to Motion to Dismiss, at pg. 8 (“[D]efense

counsel has now, through a motion, disclosed that the defendant will pursue a mistake of fact

defense.”). Of course, the only way Timberlake could produce evidence of his “mistake of fact”

would be to testify in his criminal trial concerning his mistaken perception, thereby waiving his

Fifth Amendment privilege.

   11.         On June 11, 2021. Timberlake filed a second Motion to Dismiss, a copy of which

is attached hereto as Exhibit “B,” in which he states that “[f]rom the initial arrest of Officer

Timberlake, the defense has made it known that Officer Timberlake believed he was arresting

Anthony Ingram.” See Exhibit “B” Notice and Motion to Dismiss, at pg. 12. Timberlake’s

criminal defense counsel reiterates in his second Motion to Dismiss that “[a]t the time Officer

Timberlake arrested Lamonta Gladney, Officer Timberlake believed he was arresting Anthony

Ingram, and that Anthony Ingram had two outstanding warrants for his arrest.” Id. at 14.

Timberlake’s assertion as to his subjective misidentification of Gladney is demonstrably false

and not a valid defense because, even if genuinely believed by Timberlake (it was not), was

unreasonable. See, e.g., Peterson v. City of Pine River & Pine River Police S Nathan Gainey &

Chelsea Collette, 36 F.Supp.3d 843, 849 (D. Minn. 2014) ("It was thus clearly established at the

time of the Plaintiff's arrest that the Fourth Amendment afforded her the right to be free from an

arrest due to an officer's unreasonable mistake of fact regarding her identity."). Regardless of the

lack of any factual or legal merit to Timberlake’s “mistake of fact” defense, however,



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Timberlake clearly intends to give testimony at his criminal trial as to his alleged

misidentification of Gladney, thereby waiving his Fifth Amendment privilege. His argument in

favor of a continuation of stay of discovery as to him in this case -- that it is necessary because

he should not be burdened with the choice of either waiver of his Fifth Amendment privilege or

an adverse jury instruction if he refuses to testify -- is therefore disingenuous.

     12.          On July 2, 2021, the Fairfax Circuit Court denied Timberlake’s second Motion to

Dismiss, and his misdemeanor prosecution is still set for trial on September 19, 2022. There is

no apparent prospect that Timberlake’s misdemeanor jury trial will be set for any earlier date.

                                          IV.    ARGUMENT

A.         The extraordinary remedy of continuation of the stay of discovery as to Timberlake
             is immoderate given a misdemeanor trial date set over one year from now.

           Gladney’s motion to lift partial stay of discovery is analyzed using the same factors and

balancing test identified by the parties in their memoranda filed in support and opposition to

Timberlake’s motion to stay discovery [Doc. Nos. 7, 12] and applied in this Court's Order. [Doc.

No. 18]. The facts have, however, materially changed because Timberlake’s misdemeanor jury

trial has not been moved up from the September 19, 2022, trial date, and discovery in this case

has been substantially completed.

           “'[A] stay of [a] civil case' to permit conclusion of a related criminal prosecution has been

characterized as 'an extraordinary remedy.'" Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.

3d 83, 98 (2d Cir. 2012) (quoting Tr. of Plumbers and Pipefitters Nat'l Pension Fund v.

Transworld Mech., Inc., 886 F. Supp. 1134, 1139 (S.D.N.Y. 1995)). Further, the Constitution

does not require such a stay, and "[t]he existence of a civil defendant's Fifth Amendment right

arising out of a related criminal proceeding thus does not strip the court in the civil action of its

broad discretion to manage its docket." Louis Vuitton, 676 F.3d at 98-99.

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       Plaintiff "ha[s] a legitimate interest in the expeditious resolution of [his] case." Tr. of

Plumbers and Pipefitters Nat'l Pension Fund v. Transworld Mech., Inc. , 886 F. Supp. 1134,

1140 (S.D.N.Y. 1995) ; Chagolla v. City of Chicago , 529 F.Supp.2d 941, 947 (N.D. Ill. 2008) ;

Fid. Nat'l Title Ins. Co. of New York , 980 F. Supp. 1022, 1024 (D. Minn. 1997). Continuation of

the stay of discovery as to Timberlake until the conclusion of his state criminal prosecution

would have no defined end point in time. Plaintiff anticipates that Defendant Timberlake will ask

that the stay remain in place until a specific triggering event: Timberlake's charges are dismissed;

he is found not guilty; or he is sentenced following a guilty plea or a guilty verdict. While these

are common conclusions to criminal prosecutions, this argument would fail to account for other

outcomes, such as mistrials or hung juries, as well as direct appeal and possible postconviction

petitions. Put another way, the timeline of a criminal prosecution is difficult to predict, and

delays are a distinct possibility. The uncertain timeline of the requested stay hinders Plaintiff's

interest in moving this lawsuit forward.

     Plaintiff has significant interests in seeing this matter proceed. Delay may increase the risk

that memories will fade, and relevant evidence will be lost. See Clinton v. Jones, 520 U.S. 681,

707-708, 117 S. Ct. 1636 1651, 137 L.Ed.2d 945 (1997) ("The complaint was filed within the

statutory limitations period—albeit near the end of that period—and delaying trial would

increase the danger of prejudice resulting from the loss of evidence, including the inability of

witnesses to recall specific facts, or the possible death of a party").

        In addition, the Court's interest in clearing its docket favors lifting the stay. Federal Sav.

& Loan Ins. Corp. v. Molinaro, 889 F.2d 899, 903 (9th Cir. 1989). Moreover, "[i]t is axiomatic

that the public's interest favors open judicial proceedings and the expeditious resolution of




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litigation." Waitt v. Internet Brands, Inc., No. CV-10-3006 GHK (JCGx), 2011 WL 13214299 at

* 8 (C.D. Cal. 2011).

     Another important factor is the status of the cases. Because staying a civil case pending

resolution of a criminal matter is such an "extraordinary remedy," courts ordinarily enter a stay

only "when related criminal proceedings are imminent or pending." Louis Vuitton, 676 F.3d at

98. Here, Timberlake’s criminal case is scheduled for a jury trial to commence over one year

from now on September 19, 2022. As the Supreme Court has explained, "[a] stay is immoderate

and hence unlawful unless so framed in its inception that its force will be spent within reasonable

limits, so far at least as they are susceptible of prevision and description." Landis v. North

American Co., 299 U.S. 248, 57 S. Ct. 163, 167, 81 L. Ed. 153 (1936).

   B. Timberlake will suffer no adverse consequences if this Court lifts the stay because
      he is asserting a defense in his criminal prosecution which will require that he testify
      and thereby waive his Fifth Amendment privilege.


     A factor for this Court’s consideration of Gladney’s motion to lift stay addresses the

consequences Timberlake may suffer if this Court grants Gladney’s motion. As previously

argued herein, Timberlake clearly intends to give testimony at his criminal trial as to his alleged

misidentification of Gladney, thereby waiving his Fifth Amendment privilege. Accordingly, he

will suffer no prejudice if this Court grants Gladney’s motion to lift the stay. .


                                          V. CONCLUSION

       A persistent stay of discovery as to Defendant Timberlake is tantamount, at this stage, to

an extreme stay of the entire case - already rejected by this Court. Under both the doctrine of the

law of the case and under practical grounds, this Court’s prior rejection of a stay of proceedings

generally should guide the Court to lift its stay of discovery against Defendant Timberlake.



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For all the forgoing reasons Plaintiff Gladney respectfully requests that this Court lift the stay of

discovery as to Defendant Timberlake.

                                                                             Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2021, I electronically filed the foregoing pleading with
the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
(NEF) to the following.

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